     Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 1 of 26




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

ROBERT L. BARKLEY,                      )
                                        )
      Plaintiff,                        )
                                        )   Civil Action File No.
v.                                      )   1:21-cv-03763-JPB-CMS
                                        )
STACKPATH, LLC,                         )
                                        )
      Defendant.                        )


               AFFIDAVIT OF DEBRAN O'NEIL IN SUPPORT
                   OF DEFENDANT'S BILL OF COSTS


STATE OF TEXAS            §
                          §
COUNTY OF DALLAS §

      BEFORE ME, the undersigned authority, on this date personally appeared

Debran O'Neil, known to me to be the person whose name appears below and, upon

being duly sworn, stated as follows:

      1.     My name is Debran O'Neil. I am over the age of twenty-one (21) years

and competent to make this Affidavit. I am a partner in the law firm Carrington,

Coleman, Sloman & Blumenthal, L.L.P. ("Carrington Coleman"), and I am counsel

of record for Defendant StackPath, LLC ("StackPath") in the above-captioned action

(the "Litigation").


                                        1
     Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 2 of 26




      2.     In my capacity as StackPath's counsel of record, I have access to and

personal knowledge of the files and records pertaining to the Litigation, including

the files and records pertaining to expenses incurred by StackPath in connection with

the Litigation. On the basis of such personal knowledge and my personal review of

such files and records, I affirm that the facts stated herein are true and correct. I

understand that this Affidavit is to be attached as a verification to Defendant's Bill

of Costs filed in this Litigation pursuant to the entry of the final judgment.

      3.     The Bill of Costs, filed simultaneously with this Affidavit, is a true and

correct summary itemization of charges, totaling $7,232.00, incurred by Defendant

for costs necessary to its successful defense of this lawsuit. Included are the clerk's

fees for admission pro hac vice and the costs to obtain the depositions of key

witnesses. These charges were reasonable and necessary for Defendant's defense of

the claims brought by Plaintiff in the Litigation and were actually and necessarily

performed. My law firm purchased the transcripts and videos taken in this case,

which my firm billed to StackPath.

Pro Hae Vice Filing Fees

      4.     My partner, Mike Birrer, and I were StackPath's lead attorneys

throughout this case. Under N.D. Georgia Local Rule 83.1, representing StackPath

in this case required that Mr. Birrer and I apply for admission pro hac vice. On



                                           2
    Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 3 of 26




October 20, 2021, StackPath's local counsel Christina Baugh filed pro hac vice

applications for Mr. Birrer and me. Doc. I 0-11. As reflected on the docket and the

receipts, the Clerk's Office charged $150 for each application. See Exhibit 1 &

October 20, 2021 docket entries. StackPath reimbursed Ms. Baugh' s law firm for

the pro hac vice fees. Accordingly, StackPath's Bill of Costs includes $300 for these

pro hac vice fees. 1

Deposition Transcripts and Videos

       5.    StackPath noticed the deposition of Robert Barkley, Plaintiff in this

case. Mike Birrer attended and took the deposition as a representative of StackPath.

Taking Mr. Barkley's deposition and obtaining the transcript of that deposition were

necessary to a defense of his claims. Ultimately, the information obtained was used

in Defendant's successful Motion for Summary Judgement. A true and correct copy




1
   28 U.S.C. § 1920(1) (recoverable costs include "Fees of the clerk"); Lowe-Cooke
v. Masterfoods USA, Inc., No. 1:06-CV-2253-ODE, 2009 WL 10672395, at *2-3
(N.D. Ga. Sept. 18, 2009) ("there is no consensus among the federal courts as to
whether pro hac vice fees are taxable as 'fees of the clerk," but "the Court agrees
with those courts that have granted prevailing parties their attorneys' reasonably
necessary pro hac vice admission fee.").



                                         3
     Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 4 of 26




of the $1,271.95 mv01ce for the Barkley deposition transcript 1s attached as

Exhibit 2. 2

      6.       Barkley requested the deposition of Kassidy Gerber, the main contact

person at Valve, one of StackPath's key customers. StackPath ultimately noticed the

deposition due to scheduling concerns. Barkley's involvement with managing the

Valve relationship, among other things, was a consideration in Barkley's

termination, and it was reasonable and necessary to attend this deposition to defend

against Plaintiffs claims. Ultimately, the information obtained was used in

Defendant's successful Motion for Summary Judgement. A true and correct copy of

the $487 .40 invoice for the deposition transcript is attached as Exhibit 3. In addition

to the written record, the deposition was video recorded for use at trial since the

witness was out of subpoena range. Attached as Exhibit 4 is a true and correct copy

of the $390.00 invoice for the video of the Gerber deposition. Obtaining the video

of that deposition was reasonably necessary to StackPath's defense of Barkley's

claims and for the then-anticipated trial.




2
   Throughout my affidavit and in StackPath's Bill of Costs, I included the fees
necessary for obtaining the testimony, deposition transcripts, and exhibits, but I did
not include additional fees reflected on the invoice, such as "e-bundle/lit support
package "and "processing, handling, and archiving."

                                             4
    Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 5 of 26




       7.     StackPath noticed the deposition of Justin Grindstaff, former Senior

Vice President of Sales and former Chief Revenue Officer for StackPath. Grindstaff

likewise had knowledge of Barkley's involvement with the Valve account and the

sales representatives' duties and expectations. Taking Grindstaff s deposition and

obtaining the transcript of that deposition were necessary to a defense of Barkley's

claims. Ultimately, the information obtained was used in Defendant's successful

Motion for Summary Judgement. A true and correct copy of the $776.85 invoice for

the Grindstaff deposition transcript is attached as Exhibit 5. In addition to the written

record, the deposition was video recorded for use at trial since the witness was out

of subpoena range. Attached as Exhibit 6 is a true and correct copy of the $390.00

invoice for the video of the Grindstaff deposition. Obtaining the video of that

deposition was reasonably necessary to StackPath's defense of Barkley's claims and

for the then-anticipated trial.

       8.     StackPath noticed the deposition of Sherri Russell, former Chief

Financial Officer for StackPath. Russell provided the decisionmakers with the sales

data used in Barkley's evaluation and termination decision. She also had knowledge

of Barkley's involvement with the Valve account. Taking Russell's deposition and

obtaining the transcript of that deposition were necessary to a defense of Barkley's

claims. Ultimately, the information obtained was used in Defendant's successful



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Motion for Summary Judgement. A true and correct copy of the $1,327.25 invoice

for the Russell deposition transcript is attached as Exhibit 7. In addition to the

written record, the deposition was video recorded for use at trial since the witness

was out of subpoena range. Attached as Exhibit 8 is a true and correct copy of the

$390.00 invoice for the video of the Russell deposition. Obtaining the video of that

deposition was reasonably necessary to StackPath's defense of Barkley's claims and

for the then-anticipated trial.

         9.    Barkley noticed the depositions of former StackPath employee, Neal

Bass. A true and correct copy of the $1,165.60 invoice for the deposition transcript

is attached as Exhibit 9. Obtaining the transcript of that deposition was reasonably

necessary to StackPath's defense of Barkley's claims and for the then-anticipated

trial.

         10.   Barkley also noticed the depositions of former StackPath employee,

Lee Baker. A true and correct copy of the $732.95 invoice for the deposition

transcript is attached as Exhibit 10. Obtaining the transcript of that deposition was

reasonably necessary to StackPath's defense of Barkley's claims and for the then-

anticipated trial.




                                         6
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         11.      Having reviewed the relevant legal authorities, 3 the deposition

transcripts were necessarily obtained for use in this case, and the depositions were

related to issues in this case. When the deposition transcripts were purchased, I

believed the transcripts were reasonably necessary for pre-trial motions and the then-

anticipated trial. Likewise, I believed the videos were reasonably necessary for the

then-anticipated trial. 4

                                                   ~-C»JuQ
                                                   Debran L. O'Neil

         SUBSCRIBED AND SWORN TO before me this 2-Cf> ~ day of August, 2023 .


                 TAMERA J. ALDERMAN
                      Notary Public
                      State ofTexas                                 BLIC in and for the
                      ID# 808060-3
                 y Comm. Expires 01 -20-2024       State of Texas



3
    28 U.S.C. § 1920(2) (costs include "[fJees for printed or electronically recorded
transcripts necessarily obtained for use in the case."). Harrison v. Belk, Inc., 740
Fed. App'x 708, 709 (11th Cir. 2018) (a party may recover "costs associated with
the depositions submitted by the parties in support of their summary judgment
motions."); Watson v. Lake County, 492 F. App'x 991, 996-97 (11th Cir. 2012)
("even where a deposition is not ultimately used as part of a prevailing party's case,
we have held that the costs of the deposition are taxable under § 1920 where no
evidence shows that the deposition was unrelated to an issue in the case at the time
it was taken.").

4
      iVatson v. Lake County, 492 Fed. App'x 991, 997 (11th Cir. 2012) ("Where a
party notices a deposition to be recorded by both stenographic and non-stenographic
means, and no objection is raised at that time as to the method of recordation,
pursuant to Fed. R. Civ. P. 26(c), a court can award the cost of conducting the
deposition in the manner noticed").

i_1 1291400v.l                                 7
                Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 8 of 26


Mitchum, Lisa

From:                            do_not_reply@psc.uscourts.gov
Sent:                            Wednesday, October 20, 2021 12:55 PM
To:                              Mitchum, Lisa
Subject:                         [EXTERNAL]Pay.gov Payment Confirmation: GEORGIA NORTHERN DISTRICT COURT


Your payment has been successfully processed and the details are below. If you have any questions or you wish to
cancel this payment, please contact: Kathy Sewell at 404-215-1625.

 Account Number: 5698563
 Court: GEORGIA NORTHERN DISTRICT COURT
 Amount: $150.00
 Tracking Id: AGANDC-11340019
 Approval Code: 091513
 Card Number: ************1411
 Date/Time: 10/20/2021 12:55:12 ET


NOTE: This is an automated message. Please do not reply




                                           EXHIBIT 1
                                                          1
                Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 9 of 26


Mitchum, Lisa

From:                            do_not_reply@psc.uscourts.gov
Sent:                            Wednesday, October 20, 2021 12:54 PM
To:                              Mitchum, Lisa
Subject:                         [EXTERNAL]Pay.gov Payment Confirmation: GEORGIA NORTHERN DISTRICT COURT


Your payment has been successfully processed and the details are below. If you have any questions or you wish to
cancel this payment, please contact: Kathy Sewell at 404-215-1625.

 Account Number: 5698563
 Court: GEORGIA NORTHERN DISTRICT COURT
 Amount: $150.00
 Tracking Id: AGANDC-11340009
 Approval Code: 048960
 Card Number: ************1411
 Date/Time: 10/20/2021 12:53:35 ET


NOTE: This is an automated message. Please do not reply




                                                          1
               Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 10 of 26

                                                                                                Invoice
 ~ EXITAS'"                                                                          Invoice No: 1393704
                                                                                           Invoice Date: 1/6/2023
                                                                                           Payment Terms: Net 30


Bill To:                                                 Case Name:
Michael (Mike) Birrer                                    Robert L. Barkley v. StackPath, LLC
Carrington Coleman Sloman & Blumenthal - Dallas
901 Main St Ste 5500                                     Case Number:
Dallas TX 75202-3767
United States


Header:

Job #                Witness Name     Job Date     Location          Claim No.     Matter Number        Client Name
2022-874213          Robert Barkley   12/19/2022   Alpharetta, GA




Item                                                                 Quantity                  Amount

Original Transcript & 1 Copy                                         252                       $945.00
Mini/Condensed Transcript - COMPLIMENTARY                            1                         $0.00
PTX / PDF Files - COMPLIMENTARY                                      1                         $0.00
Exhibits                                                             71                        $31.95
E-Bundle / Lit Support Package                                       1                         $43.50
Reporter Appearance Fee                                              1                         $295.00
Processing, Handling & Archiving                                     1                         $30.00
Shipping/Delivery - COMPLIMENTARY                                    1                         $0.00




                                                                                                              1 of 2

                                                   EXHIBIT 2
                 Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 11 of 26

                                                                                             Invoice
 ~ EXITAS'"                                                                     Invoice No: 1393704
                                                                                         Invoice Date: 1/6/2023
                                                                                         Payment Terms: Net 30
Memo:


Sold To:
Michael (Mike) Birrer
Carrington Coleman Sloman & Blumenthal - Dallas
901 Main St Ste 5500
Dallas TX 75202-3767
United States                                                                      Subtotal: $1,345.45

Please remit payments with invoice number included to:
Lexitas                                                                        Tax Total(%): $0.00
PO Box 734298
Dept 2012
Dallas, TX 75373-4298
                                                                                          Total: $1,345.45
To pay this invoice by credit card:
1) Visit https://www.lexitaslegal.com/pay-invoice
2) Enter Invoice # 1393704                                           Payments and Credits: $0.00

TAX ID XX-XXXXXXX                                                   Amount Due                  $1,345.45

1.5% finance charge on delinquent balances.                         After 2/5/2023 Pay          $1,365.63

Payment not contingent upon client reimbursement.

Lexitas operates in all 50 states and is licensed where required.
Nevada Registration #116F


Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 844-359-1173




                                                                                                         2 of 2
               Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 12 of 26

                                                                                                 Invoice
 ~ EXITAS'"                                                                           Invoice No: 1411496
                                                                                             Invoice Date: 2/23/2023
                                                                                             Payment Terms: Net 30


Bill To:                                                  Case Name:
Debran O'Neil                                             Robert Barkley v. StackPath, LLC
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500                                Case Number:
Dallas Texas 75202
United States                                             Location: LegalView - All parties appearing remotely

                                                          Job Date: 2/10/2023

Header:

                                      Date of    Claims         Name of
Job #               Witness Name                                        Claim No.     Matter Number      Client Name
                                      Loss       Professional   Insured
2023-878417         Kassidy Gerber




Item                                                                  Quantity                 Amount

Original Transcript & 1 Copy - Video Testimony                        68                       $292.40
Mini/Condensed Transcript - COMPLIMENTARY                             1                        $0.00
PTX / PDF Files - COMPLIMENTARY                                       1                        $0.00
E-Bundle / Lit Support Package                                        1                        $43.50
Reporter Appearance Fee                                               1                        $195.00
Processing, Handling & Archiving                                      1                        $30.00
Shipping/Delivery - COMPLIMENTARY                                     1                        $0.00




                                                  EXHIBIT 3
                                                                                                             1 of 2
                 Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 13 of 26

                                                                                         Invoice
 ~ EXITAS'"                                                                  Invoice No: 1411496
                                                                                     Invoice Date: 2/23/2023
                                                                                     Payment Terms: Net 30
Memo:


Sold To:
Debran O'Neil
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500
Dallas Texas 75202
United States                                                                   Subtotal: $560.90

Please remit payments with invoice number included to:
Lexitas                                                                      Tax Total(%): $0.00
PO Box 734298
Dept 2012
Dallas, TX 75373-4298
                                                                                      Total: $560.90
To pay this invoice by credit card:
1) Visit https://www.lexitaslegal.com/pay-invoice
2) Enter Invoice # 1411496                                          Payments and Credits: $0.00

TAX ID XX-XXXXXXX                                                        Amount Due         $560.90

1.5% finance charge on delinquent balances.                              After Pay

Payment not contingent upon client reimbursement.

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                                                                                                       2 of 2
               Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 14 of 26

                                                                                                Invoice
 ~ EXITAS'"                                                                          Invoice No: 1411498
                                                                                            Invoice Date: 2/23/2023
                                                                                            Payment Terms: Net 30


Bill To:                                                 Case Name:
Debran O'Neil                                            Robert Barkley v. StackPath, LLC
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500                               Case Number:
Dallas Texas 75202
United States                                            Location: LegalView - All parties appearing remotely

                                                         Job Date: 2/10/2023

Header:

                                     Date of    Claims         Name of
Job #               Witness Name                                       Claim No.     Matter Number      Client Name
                                     Loss       Professional   Insured
2023-878417         Kassidy Gerber




Item                                                                 Quantity                 Amount

LegalView - Remote Video Streaming - COMPLIMENTARY                   1                        $0.00
LegalView - Remote Video Recording - Per Hour                        2                        $290.00
DVD / MPEG Conversion                                                2                        $100.00
Processing, Handling & Archiving                                     1                        $30.00
Shipping/Delivery - COMPLIMENTARY                                    1                        $0.00




                                                EXHIBIT 4
                                                                                                            1 of 2
                 Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 15 of 26

                                                                                         Invoice
 ~ EXITAS'"                                                                  Invoice No: 1411498
                                                                                     Invoice Date: 2/23/2023
                                                                                     Payment Terms: Net 30
Memo:


Sold To:
Debran O'Neil
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500
Dallas Texas 75202
United States                                                                   Subtotal: $420.00

Please remit payments with invoice number included to:
Lexitas                                                                      Tax Total(%): $0.00
PO Box 734298
Dept 2012
Dallas, TX 75373-4298
                                                                                      Total: $420.00
To pay this invoice by credit card:
1) Visit https://www.lexitaslegal.com/pay-invoice
2) Enter Invoice # 1411498                                          Payments and Credits: $0.00

TAX ID XX-XXXXXXX                                                        Amount Due         $420.00

1.5% finance charge on delinquent balances.                              After Pay

Payment not contingent upon client reimbursement.

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Nevada Registration #116F


Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 844-359-1173




                                                                                                       2 of 2
               Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 16 of 26

                                                                                                       Invoice
 ~ EXITAS'"                                                                                 Invoice No: 1415311
                                                                                                   Invoice Date: 3/7/2023
                                                                                                   Payment Terms: Net 30


Bill To:                                                        Case Name:
Debran O'Neil                                                   Robert Barkley v. Stackpath, LLC
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500                                      Case Number:
Dallas Texas 75202
United States                                                   Location: LegalView - All parties appearing remotely

                                                                Job Date: 2/15/2023

Header:

                                      Date of      Claims           Name of
Job #               Witness Name                                            Claim No.       Matter Number      Client Name
                                      Loss         Professional     Insured
2023-879095         Justin
                    Grindstaff




Item                                                                        Quantity                 Amount

Original Transcript & 1 Copy - Video Testimony - No Copy Sale               90                       $580.50
Mini/Condensed Transcript - COMPLIMENTARY                                   1                        $0.00
PTX / PDF Files - COMPLIMENTARY                                             1                        $0.00
Exhibits                                                                    3                        $1.35
E-Bundle / Lit Support Package                                              1                        $43.50
Reporter Appearance Fee                                                     1                        $195.00
Processing, Handling & Archiving                                            1                        $30.00
Shipping/Delivery - COMPLIMENTARY                                           1                        $0.00




                                                                                                                   1 of 2

                                                       EXHIBIT 5
                 Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 17 of 26

                                                                                             Invoice
 ~ EXITAS'"                                                                     Invoice No: 1415311
                                                                                         Invoice Date: 3/7/2023
                                                                                         Payment Terms: Net 30
Memo:


Sold To:
Debran O'Neil
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500
Dallas Texas 75202
United States                                                                      Subtotal: $850.35

Please remit payments with invoice number included to:
Lexitas                                                                        Tax Total(%): $0.00
PO Box 734298
Dept 2012
Dallas, TX 75373-4298
                                                                                          Total: $850.35
To pay this invoice by credit card:
1) Visit https://www.lexitaslegal.com/pay-invoice
2) Enter Invoice # 1415311                                           Payments and Credits: $0.00

TAX ID XX-XXXXXXX                                                   Amount Due                  $850.35

1.5% finance charge on delinquent balances.                         After 4/6/2023 Pay          $863.11

Payment not contingent upon client reimbursement.

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Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 844-359-1173




                                                                                                           2 of 2
               Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 18 of 26

                                                                                                Invoice
 ~ EXITAS'"                                                                          Invoice No: 1415312
                                                                                            Invoice Date: 3/7/2023
                                                                                            Payment Terms: Net 30


Bill To:                                                 Case Name:
Debran O'Neil                                            Robert Barkley v. Stackpath, LLC
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500                               Case Number:
Dallas Texas 75202
United States                                            Location: LegalView - All parties appearing remotely

                                                         Job Date: 2/15/2023

Header:

                                    Date of     Claims         Name of
Job #               Witness Name                                       Claim No.     Matter Number      Client Name
                                    Loss        Professional   Insured
2023-879095         Justin
                    Grindstaff




Item                                                                 Quantity                 Amount

LegalView - Remote Video Streaming - COMPLIMENTARY                   1                        $0.00
LegalView - Remote Video Recording - Per Hour                        2                        $290.00
DVD / MPEG Conversion                                                2                        $100.00
Processing, Handling & Archiving                                     1                        $30.00
Shipping/Delivery - COMPLIMENTARY                                    1                        $0.00




                                                    EXHIBIT 6
                                                                                                            1 of 2
                 Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 19 of 26

                                                                                             Invoice
 ~ EXITAS'"                                                                     Invoice No: 1415312
                                                                                         Invoice Date: 3/7/2023
                                                                                         Payment Terms: Net 30
Memo:


Sold To:
Debran O'Neil
Carrington Coleman Sloman & Blumenthal, LLP
901 Main Street, Ste. 5500
Dallas Texas 75202
United States                                                                      Subtotal: $420.00

Please remit payments with invoice number included to:
Lexitas                                                                        Tax Total(%): $0.00
PO Box 734298
Dept 2012
Dallas, TX 75373-4298
                                                                                          Total: $420.00
To pay this invoice by credit card:
1) Visit https://www.lexitaslegal.com/pay-invoice
2) Enter Invoice # 1415312                                           Payments and Credits: $0.00

TAX ID XX-XXXXXXX                                                   Amount Due                  $420.00

1.5% finance charge on delinquent balances.                         After 4/6/2023 Pay          $426.30

Payment not contingent upon client reimbursement.

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Nevada Registration #116F


Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 844-359-1173




                                                                                                           2 of 2
             Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 20 of 26



                                                                                                        Invoice
                                                                                               Invoice No: 1423190
                                                                                                    Invoice Date: 3/27/2023
                                                                                                    Payment Terms: Net 30


Bill To:                                                        Case Name:
Michael (Mike) Birrer                                            Robert L. Barkley v. Stackpath, LLC
Carrington, Coleman, Sloman & Blumenthal, L.L.P. -
Dallas                                                           Case Number:
901 South Main Street, Suite 5S00
Dallas TX 75202                                                  Location: LegalView - All parties appearing remotely
United States
                                                                Job Date: 2/27/2023

Header:

                                       Date of         Claims         Nome o f
Job#                 Witness Name                                     Insured      Claim No.   Matter' Number    Client Name
                                       Loss            Professional
2023-884187          Sherri Russell                                                            029323-0003.




Item                                                                         Quantity                  Amount

 Original Transcript & 1 Copy - Videotaped Testimony                         263                       $1 ,130.90
Mini/Condensed Transcript - COMPLIMENTARY                                    1                         $0.00
PTX / PDF Files - COMPLIMENTARY                                              1                         $0.00
 Exhibits                                                                    3                         $1.35
 E-Bundle / Lit Support Package                                              1                         $43.50
 Reporter Appearance Fee                                                                               $195.00
 Processing, Handling & Archiving                                            1                         $30.00
 Shipping/Delivery - COMPLIMENTARY                                           1                         $0.00




                                                                                                                        1 of 2


                                                       EXHIBIT 7
                Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 21 of 26



                                                                                             Invoice
                                                                                Invoice No: 1423190
                                                                                      Invoice Date: 3/27/2023
                                                                                      Payment Terms: Net 30
Memo:


Sold To:
Michael (Mike) Birrer
Carrington, Coleman, Sloman & Blumenthal, L.L.P. - Dallas
901 South Main Street, Suite 5500
Dallas TX 75202
United States                                                                       Subtotal: $1 ,400.76

Please remit payments w ith Invoice number included to:
Lexilas                                                                         Tax Total(%): $0.00
PO Box 734298
Dept2012
Dallas, TX 75373-4298
                                                                                          Total: $1 ,400.75
To pay this Invoice by credit card:
1) Visit https://www.lexltaslegal.com/pay-lnvoice
2) Enter Invoice# 1423190                                             Payments and Credits: $0.00

TAX ID XX-XXXXXXX                                                   Amount Due                   $1,400.75
1.5% finance charge on delinquent balances.                         After 4/2612023 Pay          $1,421 .76

Payment not contingent upon client reimbursement.

Lexltas operates in all SO states and is licensed where r equired
Nevada Registration #116F


.Q.u.e.ulons/IoqLlicil:£
Email: Billlnq@lexlt~slPgc1l.com
Phone Number: 844-359-11 73




                                                                                                              2of2
             Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 22 of 26



                                                                                                  Invoice
                                                                                       Invoice No: 1423192
                                                                                             Invoice Date: 3/27/2023
                                                                                             Payment Terms: Net 30


Bill To:                                                   Case Name:
Michael (Mike) Birrer                                      Robert L. Barkley v. Stackpath, LLC
Carrington, Coleman, Sloman & Blumenthal, L.L.P. -
Dallas                                                     Case Number:
901 South Main Street, Suite 5500
Dallas TX 75202                                            Location: LegalView - All parties appearing remotely
United States
                                                          Job Date: 2/27/2023

Header:

                                       Dale of   Claims
Job#                 Witness Name                               Name of    Claim No.    Matter Number       Client Name
                                       Loss      Professional   Insured
2023-884187          Sherri Russel l                                                    029323-0003.




 Item                                                                  Quantity                  Amount

LegalView - Remote Video Streaming - COMPLIMENTARY                                               $0 .00
 LegalView - Remote Video Recording - Per Hour                         2                         $290 .00
 DVD/ MPEG Conversion                                                  2                         $100.00
 Processing, Handling & Archiving                                      1                         $30.00
 Shipping/Delivery - COMPLIMENTARY                                                               $0 .00




                                                                                                                  1 of 2

                                                 EXHIBIT 8
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                                                     1M
                                                                                              Invoice
                              I                                                  Invoice No: 1423192
                                                                                       Invoice Date: 3/27/2023
                                                                                       Payment Terms: Net 30
Memo:


Sold To:
Michael (Mike) Birrer
Carrington , Coleman, Sloman & Blumenthal, L.L.P. - Dallas
901 South Main Street, Suite 5500
Dallas TX 75202
United States                                                                        Subtotal: $420.00

Please remit payments with Invoice number included to:
Lexltas
                                                                                 Tax Total(%): $0.00
PO Box 734298
Dept 2012
Dallas, TX 75373-4298
                                                                                           Total: $420.00
To pay this invoice by credit card:
1) Visit https://www.lexitaslegal.com/pay-invo ice
2) Enter Invoice# 1423192                                              Payments and Credits: $0 ,00

TAX ID XX-XXXXXXX                                                    Amount Due                  $4 20.00

1.5% finance charge on delinquent balances .                         After 4/26/2023 Pay         $426.30

Payment not contingent upon client reimbursement.

Lexitas operates in all 50 states and is licensed where required .
Nevada Registration #116F


Questions/Inquiries:
Email : Bll ll ng@ lexltasl ega l.com
Phone Number: 844-359-1173




                                                                                                            2 of2
              Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 24 of 26




    @@ Advanced ON
                            L       GA.L


    Mike Birrer
    Carrington Coleman Sloman & Blumenthal, LLP
                                                                                               Invoice #755871
    901 Main St.,
                                                                                            Date                 Terms
    Suite 5500
                                                                                         02/13/2023           Due on receipt
    Dallas, TX 75202




Job #440073 on 01/27/2023
                      Case: Robert L. Barkley vs. Stackpath, LLC
                     Case#: 1:21-cv-3763-JPB-CMS (GA)

Description                                                                                                               Amount
Copy Transcript of John Neal Bass - 238 pages
    Copy of Transcript                                                                                                $ 1,035.30
    B&W Scanned Documents                                                                                                  $ 0.50
    Color Scanned Documents                                                                                                $ 4.80
    Lit Support Package                                                                                                  $ 30.00
    Remote Video Conference                                                                                             $ 125.00
    Processing & Production Fee                                                                                          $ 15.00

                                                                                                                      $ 1,210.60

                                                                                             Amount Due:             $ 1,210.60
                                                                                                    Paid:                 $ 0.00

                                                                                              Balance Due:           $ 1,210.60
                                                                                             Payment Due:          Upon Receipt


                                                           If paid after 03/15/2023 please pay this amount:           $ 1,331.66

We value you as a Partner and appreciate your business.

**AdvancedONE Legal can accommodate direct billing to third parties, including insurance carriers**

TAX ID # XX-XXXXXXX
Please make checks payable to:
Advanced One Legal




                                                        EXHIBIT 9
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                                                                                    Invoice #755871
PO Box 734298 Dept 2038
Dallas, TX 75373-4298
(866) 715-7770 or email kim.linarte@lexitaslegal.com

Quick and Easy Online Payment option: https://advancedone.com/bill-pay/
Click this link for our current W9:
https://go.lexitaslegal.com/l/851343/2023-01-24/fhtv1/851343/1674575208N9VIp5vW/Advanced_One_W9.pdf
              Case 1:21-cv-03763-JPB Document 86-1 Filed 08/28/23 Page 26 of 26




      @:@ Advanced ONE is now Ill. LEX IT As··
              LEGA L                      I.a.,.




    Mike Birrer
    Carrington Coleman Sloman & Blumenthal, LLP
                                                                                                 Invoice #757065
    901 Main St.,
                                                                                              Date                 Terms
    Suite 5500
                                                                                           02/28/2023           Due on receipt
    Dallas, TX 75202




Job #440075 on 02/14/2023
                        Case: Robert L. Barkley vs. Stackpath, LLC
                       Case#: 1:21-cv-3763-JPB-CMS (GA)

Description                                                                                                                 Amount
Copy Transcript of Lee Baker - 119 pages
    Copy of Transcript                                                                                                     $ 600.95
    B&W Scanned Documents                                                                                                     $ 7.00
    Lit Support Package                                                                                                     $ 50.00
    Remote Video Conference                                                                                                $ 125.00
    Processing & Production Fee                                                                                             $ 60.00

                                                                                                                           $ 842.95

                                                                                               Amount Due:               $ 842.95
                                                                                                      Paid:                 $ 0.00

                                                                                                Balance Due:             $ 842.95
                                                                                               Payment Due:          Upon Receipt


                                                             If paid after 03/30/2023 please pay this amount:              $ 927.25

We value you as a Partner and appreciate your business.

**AdvancedONE Legal can accommodate direct billing to third parties, including insurance carriers**

TAX ID # XX-XXXXXXX
Please make checks payable to:
AdvancedOne/Lexitas
PO Box 734298 Dept 2038




                                                        EXHIBIT 10
